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VAN−077 Order Continuing 341 Meeting of Creditors − Rev. 01/05/2016

                              UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                                         Wilmington Division

IN RE:
Michael E Pearre Jr                                                   CASE NO.: 16−02240−5−SWH
( debtor has no known aliases )
7255 Copperfield Ct                                                   DATE FILED: April 27, 2016
Wilmington, NC 28411
                                                                      CHAPTER: 13

Chelsea R Pearre
 ( debtor has no known aliases )
7255 Copperfield Ct
Wilmington, NC 28411



                                   ORDER CONTINUING 341 MEETING OF CREDITORS

IT IS ORDERED that the section 341 meeting of creditors for Michael E Pearre Jr and Chelsea R Pearre is
continued.

DATE:       Thursday, June 23, 2016
TIME:       11:45 AM
PLACE:      USBA Creditors Meeting Room, Alton Lennon Federal Bldg., Room 125, 2 Princess Street,
            Wilmington, NC 28401
The movant must transmit a copy of this order to all creditors, and a certificate of service must be filed with
the court within three (3) days evidencing service.



DATED: May 3, 2016

                                                                         Stephani W. Humrickhouse
                                                                         United States Bankruptcy Judge
